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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
______________________________________________

TINA CABISCA
                              Plaintiff
       v                                                     COMPLAINT
                                                             INDEX NO.
CITY OF ROCHESTER, NEW YORK,
DARYL HOGG, JASON PRINZI, NOLAN WENGERT
CARRIE BERKSTRESSER and K TURNER

                              Defendants


 ______________________________________________

Plaintiff by her attorney, E. Robert Fussell, as and for her Complaint against the
defendants herein alleges:

   1. Plaintiff is a resident of the State of New York. Pursuant to 28 USC Sections
       1331, 1343 and 1367 this court has jurisdiction over her 42 USC 1983 Cause of
       Action, and over all the other causes of action delineated in this Complaint as they
       derive from the same case or controversy and are supplemental to it.
   2. Plaintiff is now staying at 8379 Wayne Center Road, Sodus New York 14551. But
       at all times mentioned herein plaintiff resided at the house she owns located at
       207 Kingsboro Road, Rochester, New York 14619. After the events of 9-7-13, as
       described in this Complaint, City Police have, on multiple occasions, driven
       slowly past plaintiff’s home on Kingsboro Road looking onto her property, both
       in front of her house, along Kingsboro Road, and behind her house, along the
       canal access Road. Due to the behavior of the defendants as described in this
       Complaint plaintiff no longer resides in the City of Rochester.
   3. Upon information and belief, the individual defendants were, at all times
       hereinafter mentioned, residents, and/or employees, of the City of Rochester,
       County of Monroe, State of New York. The principal place of business in the City
       of Rochester, County of Monroe New York. The address of the Defendant City of
       Rochester, the employer of the individual defendants, is 30 Church Street
       Rochester, New York 14614. Defendant City of Rochester was at all times


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   hereinafter mentioned, a municipal corporation duly organized and existing under
   and pursuant to the laws of the State of New York, with offices for the conduct of
   its business located in the City of Rochester, County of Monroe, State of New
   York
4. On September 7, 2013 the defendant’s police officer/ employees, defendants
   officers Daryl Hogg and Jason Prinzi, and investigator Nolan Wengert, while in
   the employ of, and performing work for, the defendant City, and while acting
   within the scope of their employment, intentionally and wantonly trespassed upon
   the plaintiff’s home property, intentionally and maliciously battered, and, together
   with other employees of the defendant City, intentionally and maliciously falsely
   arrested, maliciously prosecuted, abused the legal process, violated the civil rights
   of, and otherwise committed torts against the plaintiff, including the shooting and
   killing of her dog. The defendant’s employees had no legal right to commit any of
   these acts upon the plaintiff. The intentional nature of the acts of the individual
   defendants demands verdicts against them for punitive damages.
5. The defendants thereby intentionally and maliciously inflicted serious physical,
   psychic and emotional injuries upon the plaintiff, which included, but are not
   limited to, the humiliation of unjust criminal accusations, and the frustration of
   being forced to defend herself against these baseless charges.
6. Plaintiff has served a Notice of Claim upon the defendant, the City of Rochester
   for adjustment, which was received by the defendant on about 11-23-13, within
   90 days after the claim arose.
7. More than thirty days have elapsed since service of the Notice of Claim and
   defendant City of Rochester has failed and refused to make any adjustment of the
   claim, causing plaintiff to commence this action by filing this Complaint and
   serving copies of it on defendants.
8. This action has been commenced within one year and ninety days after the cause
   of action accrued.
9. The amount of damages sought in this action exceeds the jurisdictional limits of
   all lower courts which would otherwise have jurisdiction.




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                       FIRST CAUSE OF ACTION
   10. The plaintiff repeats all allegations made heretofore in this Complaint.
   11. On September 7, 2013 at about 9:50 pm. the defendants, specifically the
individual defendants, and the City, through the individual defendants, police officers
Daryl Hogg and Jason Prinzi, and investigator Nolan Wengert intentionally trespassed
upon the yard of the residence of the plaintiff located at 207 Kingsboro Road, Rochester,
New York 14619. Investigator Wengert continued his trespass by coming up onto the
porch of plaintiff’s residence, and needlessly shot and killed her dog.


                       SECOND CAUSE OF ACTION
   12.   The plaintiff repeats all allegations made heretofore in this Complaint.
   13.   Defendant’s police officer employees Daryl Hogg and Jason Prinzi, and
   investigator Nolan Wengert thereafter on 9-7-13 intentionally and maliciously
   battered the plaintiff by striking her body, forcibly handcuffing her hands behind her
   back, and forcibly pushing her off of her property and into a police vehicle. While
   plaintiff was on the ground plaintiff told the officers that she is asthmatic and to get
   off of her, as she could not breath. After she made that comment they pushed her
   harder. She stated, a second time, that she that she is asthmatic and couldn’t breathe.
   They responded by continuing to push down upon her. She then told them, there were
   kids in her house. One of the uniformed officers responded saying, “Really. Those
   kids are going to CPS, and you’re going to jail”
    14. Then Wengert told the two plain clothes officers to get off plaintiff and let her
   get up off the ground. Plaintiff then ran into the house, checked on her grandchildren,
   then called her significant other, Lee Windsor, and told him to come home
   immediately. Plaintiff then went back outside and saw additional police cars on the
   street in front of her home. Plaintiff then realized that two of her next- door neighbors
   were in their yard. Plaintiff asked them to come to plaintiff’s home, because she was
   afraid to be left alone with the officers, including the three individual defendants, and
   the officers who’d arrived in the additional police vehicles that had recently arrived.




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    15.   The neighbors came onto plaintiff’s yard. The two uniformed defendant
officers then handcuffed plaintiff behind her back, lifted her off the ground, and
carried plaintiff to a police car and forced her to get into the police car.
    Plaintiff was further traumatized by the fact that her grandchildren were not being
attended to, and she feared they might come outside and be traumatized by the scene
of the bleeding/ dying dog and the other events taking place involving plaintiff.
    After plaintiff was forced into the police car she experienced spasms, which
increased her inability to breathe due to her asthmatic condition. By this time Lee
Windsor had arrived at the home. Plaintiff asked him to go into her house to get her
inhaler. At first the police wouldn’t let, Lee Windsor, enter the house. Then the police
allowed Mr. Windsor to enter the house, but only if escorted by a police officer.
    16.   Mr. Windsor retrieved the inhaler and brought it to the police car, but
plaintiff was unable to use the inhaler because her hands were still cuffed behind her
back. A female uniformed officer, who was in the police car with plaintiff, called the
ambulance.
            When the ambulance arrived its two attendants went to the police car.
    At that point the female police officer refused to allow the plaintiff to leave the
police car and refused to remove the handcuffs, preventing plaintiff from obtaining
medical attention from the ambulance attendants. Approximately five minutes after
the ambulance attendants arrived at the police car, the female officer allowed the
plaintiff to leave the police car, and un-cuffed plaintiff.
    17.   Plaintiff was then transported to Highland hospital, where she received
injections of tordol, an anti inflammatory, and valium, a muscle relaxant. The
medications were provided because the plaintiff was unable to breathe due to the fact
that (a) the muscles surrounding her airways in her lungs were constricted, and (b) the
lining of her airways were inflamed, further constricting them, and thereby preventing
air from entering her lungs. Also her back and neck muscles were constricted, further
restricting her ability to breathe. (The trauma from the assaults on plaintiff initiated
the spasms to her neck and back)
    18.    At Highland an x-ray of plaintiff’s spine was taken demonstrating, on
information and belief, that her back was deformed due to the muscle spasms in her



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   back. Plaintiff arrived at Highland at approximately 10:45 pm, and was kept at the
   hospital until about 4 am the next day. Plaintiff was especially distraught about the
   pain in her neck because plaintiff had suffered a previous neck injury and has spurs in
   her spinal column around the spine located in her neck, causing her to fear she would
   suffer serious permanent damage to the spinal column in her neck area as a result of
   her treatment by defendants.
         19.      Prior to 9-7-13 plaintiff was prescribed 60 mgs/day of Cymbalta, Due to
the batteries descried in this Complaint she was prescribed 90 mgs/day of Cymbalta, and
she continues on that prescription today. The extra 30 mgs are to treat the pain in
plaintiff’s back and neck resulting from the trauma of the batteries described in this
Complaint administrated by defendants. Plaintiff’s physician prescribed valium on the
Monday after Saturday 9-7-13. Her initial prescription was for 5mg /day, but the amount
was raised to 10 mg/day, several weeks later. Due to that pain, when she engages in a
moderate amount of exercise, she can’t sleep without a sleep aid or muscle relaxant. The
permanent pain she endures encourages her to spend her winters in a location with a
warmer climate, away from her family, who reside in the Rochester area.




                          THIRD CAUSE OF ACTION
   20. The plaintiff repeats all allegations made heretofore in this Complaint.
   21.         The defendant’s thereafter, on 9-7-13 intentionally and maliciously falsely
   arrested the plaintiff by falsely charging her with Harassment in the Second Degree, a
   violation of Penal Law § 240.26 (1) and Resisting Arrest, a Class A Misdemeanor in
   violation of Penal Law § 205.30. These charges were brought by the defendant City’s
   officer, K Turner of section unit West ID # 2091. Plaintiff was also falsely charged
   with having three unleashed dogs in violation of Rochester Chapter 31 section 4 of
   the Rochester City Code and three dangerous dogs in violation of Rochester Chapter
   31 section 7 (A) of the Rochester City Code. (Two citations were issued for each of
   plaintiff’s three dogs) These six charges were commenced by Section RPDRAS ID #
   2292, Animal Control Officer defendant Carrie Berkstresser.




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       22. The two Penal Law charges listed above, were dismissed on about 10-22-13,
   by City Court Judge Ellen Yacknin. A hearing took place on the six dog charges
   before City of Rochester Hearing Examiner David Harradine on 10-30-13, who found
   plaintiff guilty of two of the charges, but those convictions were thereafter dismissed
   by the City of Rochester, as noted in a letter dated 3-5-14 from Lorena Cutt of the
   City, after plaintiff brought an appeal.




                       FOURTH CAUSE OF ACTION
   23. The plaintiff repeats all allegations made heretofore in this Complaint.
   24. The defendant’s employees thereafter intentionally and maliciously prosecuted
plaintiff causing criminal informations to be filed against plaintiff and maliciously
prosecuting plaintiff for the two Penal Law charges listed above, commencing on 9-7-13,
until the charges were dismissed in about 10-22-13, by City Court Judge Ellen Yacknin.
Also City of Rochester Animal Control Officer Carrie Berkstresser improperly issued six
tickets to plaintiff for owning three unleashed and three dangerous dogs. (Two tickets per
each dog). And, as stated above, while plaintiff was convicted of two of those six
charges, those two convictions were thereafter dismissed after plaintiff brought an appeal.




                       FIFTH CAUSE OF ACTION


     25. The plaintiff repeats all allegations made heretofore in this Complaint.
     26. The defendants intentionally and maliciously abused the legal process by
prosecuting the plaintiff for the improper purpose of attempting to hide, and justify, their
improper treatment of plaintiff when they trespassed on plaintiff’s home, and battered
her, falsely arrested her, falsely imprisoned her, maliciously prosecuted her, killed her
dog, and violated her civil rights for no legitimate law enforcement purposes. The
defendant Investigator Nolan Wengert pursued the abuse of the legal process when he



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testified falsely at a hearing on 10-3-13 before David Harradine, Hearing Officer, for the
Municipal Code Violations Bureau, which false testimony resulted in plaintiff’s improper
convictions of violating two charges of “Dangerous Dog”, one charge for each of her two
Boxer dogs, in violation of Chapter 31, Section 7A of the Code of the City of Rochester.
The false testimony included the Investigator’s statement under oath that two boxer dogs
charged him, resulting in his shooting (and killing) one of them. (This testimony is
refuted by an autopsy of the dog which supports plaintiff’s contention that the dog which
was shot, was not charging the Investigator, but was instead standing at a right angle to
him, as the autopsy revealed the dog was shot in its side, not in it’s face or in the front of
its body. Furthermore Wengert did not shoot at two of plaintiff’s dogs.The dog that was
shot was the only one of plaintiff’s dogs that was in the vicinity of Wengert when he
discharged his weapon.) Plaintiff’s conviction of the dog violations resulted in the
imposition of two fines, each in the amount of $200, for a total of $400. However, after
appeal, those convictions were dismissed and plaintiff was not required to pay either of
those fines.


                       SIXTH CAUSE OF ACTION


       27. The plaintiff repeats all allegations made heretofore in this Complaint.
       26. The shooting and killing of plaintiff’s dog violates New York General
Construction Law § 25-b. The dog’s value was $ 800 immediately prior to its death. The
defendant Wengert willfully and maliciously destroyed the dog by shooting it and
whereupon Wengert, Hogg and Prinzi allowed it to bleed to death. The individual
defendants are therefore subject to punitive, as well as compensatory damages for killing
the dog.
       Wengert shot the dog twice along its side, with a 45 caliber model 30SF semi
automatic glock as the dog was facing the street, away from the officer. Furthermore the
dog was not barking, growling or in any other manner demonstrating a threat to the
officer. The three officers then let the dog lie bleeding on the driveway until it died. At
the time of the shooting the plaintiff’s two grandchildren (9 months and 4 years old) were




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in the house, only a few feet away from the officer who shot the dog, when the gun was
fired.




                       SEVENTH CAUSE OF ACTION
     28. The plaintiff repeats all allegations made heretofore in this Complaint.
     29.The defendants, at the times and places indicated, were acting under color of law
of the State of New York and deprived plaintiff of the privileges and immunities
guaranteed to every citizen of the United States by the United States Constitution
including Amendment IV, Amendment V and Section 1 of Amendment 14, and by reason
thereof this Court has jurisdiction over the plaintiff’s claims for violation of her Federal
Civil rights, pursuant to the provisions of 42 U.S.C. 1983.


                       EIGHTH CAUSE OF ACTION


    30. The plaintiff repeats all allegations made heretofore in this Complaint.
    31. On information and belief the defendant City of Rochester negligently failed to
properly investigate the defendant officers involved in the mistreatment of the plaintiff as
heretofore described in this Complaint before hiring them, negligently instructed,
negligently trained and negligently supervised them resulting in the tortuous and other
actionable behavior heretofore described in this Complaint.


    WHEREFORE, plaintiff demands judgment against the defendants for all the
physical, emotional and other damages she endured and will endure in the future, and for
punitive damages against the individual defendants, and legal fees, together with the costs
and disbursements of this action.


                                               S/_________________________
                                               E. ROBERT FUSSELL ESQ.
                                               46 Wolcott Street, Suite One
                                               Le Roy New York 14482



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                              585 768 2240
                              gasholic@rochester.rr.com




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